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5
     Attorney for Defendant
6    JAMES BOB JACKSON
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. F 03-5054 OWW
                                     )
12                  Plaintiff,       )      STIPULATED MOTION AND ORDER TO
                                     )      REDUCE SENTENCE PURSUANT TO 18
13        v.                         )      U.S.C. § 3582(c)(2)
                                     )
14   JAMES BOB JACKSON,              )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )
16   _______________________________ )
17        Defendant, JAMES BOB JACKSON, by and through his attorney,
18   Assistant Federal Defender David M. Porter, and plaintiff, UNITED
19   STATES OF AMERICA, by and through its counsel, Assistant U.S. Attorney
20   DAWRENCE RICE, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   The sentencing range applicable to Mr. Jackson was
27   subsequently lowered by the United States Sentencing Commission in
28   Amendment 706 by two levels;
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1         3.    Accordingly, Mr. Jackson’s adjusted offense level has been
2    reduced from 31 to 29, and a sentence at the mandatory minimum term
3    would be 120 months;
4         4.    Mr. Jackson merits a reduction in his sentence based on the
5    factors listed in 18 U.S.C. § 3553(a), as well as considerations of
6    public safety and Mr. Jackson’s positive post-sentencing conduct;
7         5.    Accordingly, the parties request the court to enter the order
8    lodged herewith reducing Mr. Jackson’s term of imprisonment to term of
9    120 months.
10   Dated:    June 30, 2008
11   Respectfully submitted,
12   McGREGOR SCOTT                        DANIEL J. BRODERICK
     United States Attorney                Federal Defender
13
14
       /s/ Dawrence Rice                     /s/ David M. Porter
15   DAWRENCE RICE                         DAVID M. PORTER
     Assistant U.S. Attorney               Assistant Federal Defender
16
     Attorney for Plaintiff                Attorney for Movant
17   UNITED STATES OF AMERICA              JAMES BOB JACKSON
18                                       ORDER
19        This matter came before the Court on the stipulated motion of the
20   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).
21        On October 14, 2003, this Court sentenced Mr. Jackson to a term of
22   imprisonment of 135 months.    The parties agree, and the Court finds,
23   that Mr. Jackson is entitled to the benefit of the retroactive
24   amendment reducing crack cocaine penalties, which reduces the
25   applicable offense level from 31 to 29.
26        IT IS HEREBY ORDERED that the term of imprisonment originally
27   imposed is reduced to term of 120 months;
28        IT IS FURTHER ORDERED that all other terms and provisions of the

     STIPULATED MOTION and ORDER TO REDUCE SENTENCE
                                       -2-
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1    original judgment remain in effect.
2         Unless otherwise ordered, Mr. Jackson shall report to the United
3    States Probation office closest to the release destination within
4    seventy-two hours after his release.
5    IT IS SO ORDERED.
6    Dated: July 1, 2008                   /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION and ORDER TO REDUCE SENTENCE
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